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     Attorney for Defendant
 6   JAIME MAYORGA
 7
                            IN THE UNITED STATES DISTRICT COURT
 8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                          ) No. 11-CR-00296 JAM
11                                                      )
                                                        )
12          Plaintiff,                                  ) STIPULATION AND ORDER TO
                                                        ) ALLOW DEFENDANT TO TRAVEL TO
13   v.                                                 ) MEXICO TO VISIT FAMILY
                                                        )
14   JAIME MAYORGA                                      )
15                                                      )
            Defendant,                                  )
16                                                      )
                                                        )
                                                        )
17                                                  )
18
            Assistant United States Brian A. Fogerty and defendant Jaime Mayorga through his
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     attorney Ron Peters, hereby agree and stipulate that Mr. Mayorga may travel to Mexico any time
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21
     between the dates of January 15, 2019 and February 1, 2019 on a family vacation, specifically
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23
     a cruise beginning in San Diego, California traveling to Mexico and returning to San Diego,
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     California upon completion of said cruise.
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             It is further stipulated that the clerk of the court shall return Mr. Mayorga’s United States
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     passport to him on the date the attached proposed order is filed to permit him to travel to Mexico.
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27 Mr. Mayorga must return to the United States by February 1, 2019 and surrender his passport

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     to the clerk of the court within 24 hours of returning to the United States, but in no event later
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 2   than February 1, 2019.

 3          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.

 4          IS SO STIPULATED.
 5

 6   DATE: January 8, 2019                                 /s/Ron Peters
 7                                                         RON PETERS
                                                           Attorney for Defendant
 8                                                         Jaime Mayorga
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10                                                         /s/ Brian A. Fogerty
                                                           Brian A. Fogerty
11                                                         Assistant United States Attorney
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                                                     ORDER
 1

 2           Based on the stipulation of the parties and good cause appearing there from, the Court

 3   hereby adopts the stipulations of the parties in its entirety as its Order.
 4

 5           IT IS SO ORDERED

 6   Date: 1/10/19

 7                                                    /s/ John A. Mendez____________________
                                                             HONORABLE JOHN A. MENDEZ
                                                     UNITED STATES DISTRICT COURT JUDGE
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